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                                                                November 8, 2024

VIA ECF

Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:        Freeman et al. v. Giuliani, No. 24-mc-353 (LJL)

Dear Judge Liman,

       Plaintiffs Ruby Freeman and Wandrea’ Moss respectfully submit this letter in response to the
Court’s order of November 7, 2024 (ECF No. 93) and in response to Defendant’s letter of that same day
(ECF No. 92).

        Plaintiffs are prepared to consent to the requested extension with respect to the other Giuliani
Entities on the condition that Defendant ensure that Standard USA LLC, in which he holds an 88%
ownership interest, respond fully and completely to the information subpoena served on it by the
statutory deadline to do so, with no extensions. According to the United States Postal Service’s online
tracking information, the information subpoena to Standard USA LLC was delivered today at its
registered agent’s address via certified mail, return receipt requested. 1 The deadline to respond is
November 15, 2024. See CPLR § 5224.

         Plaintiffs proposed this arrangement to Defendant through counsel, but Defendant has not agreed
to it. Plaintiffs request that if the Court grants any extension to the other Giuliani Entities, it require a
response from Standard USA LLC by the statutory deadline with no further extensions.

                                                                Respectfully submitted,

                                                                s/ Aaron E. Nathan




1
    A copy of that information subpoena is attached hereto as Exhibit A.



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                         M UNICH N EW Y ORK P ALO A LTO P ARIS R OME S AN F RANCISCO W ASHINGTON
